✎AO 245D (Rev. 11/16) Judgment in a Criminal Case for Revocations/Modifications


                                       UNITED STATES DISTRICT COURT
                                                  NORTHERN DISTRICT OF IOWA
           UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                               v.
    RYAN MARSHALL THOMAS STREETS                                               Case Number:           CR 16-90-2
 Revocation of Probation                                                      USM Number:            16876-029
 Revocation of Supervised Release                                             Jennifer Jo Frese
 Modification of Supervision Conditions                                       Defendant’s Attorney

 AMENDED REVOCATION JUDGMENT
          Date of Most Recent Judgment:



THE DEFENDANT:
 admitted guilt to violation(s)                                   1b, 2, 3a-b, 4, 5a-f, 9                             of the term of supervision.

 was found in violation of                                                  6a, 7a, 8a                                       after denial of guilt.

The defendant is adjudicated guilty of these violations:
Violation Number                    Nature of Violation                                                                Violation Ended
1b, 3a-b, 5a-f                      Failure to Participate in Substance Abuse Testing                                  02/09/2023
2, 4                                Use of a Controlled Substance                                                      01/22/2022
6a                                  Communicate/Interact with Person Engaged in Criminal Activity                      02/07/2023
7a                                  Possession of a Controlled Substance                                               02/07/2023
8a                                  New Law Violation                                                                  02/07/2023
9                                   Travel Without Permission                                                          02/27/2023




The defendant is sentenced as provided in pages 2 through               3         of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

 The defendant was not found in violation of                                                             and is discharged as to such violation(s).
 The Court did not make a finding regarding violation(s)               1a, 1c, 1d, 1e, 1f, 6b, 7b, 8b, 8c, 8d

It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States Attorney of material changes in economic circumstances.


Linda R. Reade
United States District Court Judge
Name and Title of Judge                                                     Signature of Judge

March 30, 2023                                                              March 30, 2023
Date of Imposition of Judgment                                              Date



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                                                                   PROBATION
            The defendant’s supervision is continued with the addition of special condition number(s):




                                                                IMPRISONMENT
            No imprisonment is ordered as part of this modification.

            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
             term of: 24 months.




            The court makes the following recommendations to the Federal Bureau of Prisons:




            The defendant is remanded to the custody of the United States Marshal.
            The defendant must surrender to the United States Marshal for this district:

              at                                 a.m.                 p.m.          on                                     .

              as notified by the United States Marshal.
            The defendant must surrender for service of sentence at the institution designated by the Federal Bureau of Prisons:
              before 2 p.m. on                                           .
              as notified by the United States Marshal.
              as notified by the United States Probation or Pretrial Services Office.


                                                                      RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                             to

at                                                      with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL

                                                                                  By
                                                                                                  DEPUTY UNITED STATES MARSHAL



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                                                      SUPERVISED RELEASE

 Upon release from imprisonment, No Term of Supervised Release is reimposed.




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